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                                                                  Monday, 03 February, 2025 03:28:59 PM
                                                                           Clerk, U.S. District Court, ILCD

                      UNITED STATES DISTRICT COURT FOR THE
                          CENTRAL DISTRICT OF ILLINOIS
                                URBANA DIVISION


 DOMINICK POLIZZI, RACHEL                         Case No.: 2:23-cv-02168-CSB-EIL
 ROBIDOUX, and GEORGIA BAIN on behalf Hon. Judge Colin S. Bruce
 of themselves and all others similarly situated,

        Plaintiffs,

 v.

 JIMMY JOHN’S, LLC,

        Defendant.



                  [PROPOSED ORDER] TO WITHDRAW AS COUNSEL

       THIS CAUSE comes before the Court upon Plaintiffs’ Motion to Permit Arun Ravindran,

Esq. to Withdraw as Counsel of Record. The Court has considered the motion and the record. It is

thereupon: ORDERED AND ADJUDGED that the Plaintiffs’ motion is GRANTED. The Clerk of

the Court is directed to remove Arun Ravindran, Esq. as attorney of record.


DONE AND ORDERED on this __ day of February 2025.



                                            Respectfully submitted,

                                            /s/ Arun G. Ravindran
                                            HEDIN LLP
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                                            Counsel for Plaintiffs and the Putative Class

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